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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                            )   CASE NO.:    1:11-cr-00174-AWI
11   UNITED STATES OF AMERICA,              )
                                            )
12                    Plaintiff,            )
                                            )   STIPULATION AND PROTECTIVE
13                                          )   ORDER BETWEEN THE UNITED
                v.                          )   STATES AND DEFENDANT YURI
14                                          )   PEREZ MACHADO
                                            )
15   JORGE PALENZUELA,                      )
     JAIRO FERNANDEZ, and                   )
16   YURI PEREZ MACHADO                     )
                                            )
17                    Defendants.           )
                                            )
18
19        WHEREAS, the discovery in this case is voluminous and contains a
20   large amount of personal and confidential information including but not
21   limited to Tax information, Social Security numbers, dates of birth,
22   bank and credit card account numbers, telephone numbers, and residential
23   addresses (“Protected Information”); and
24        WHEREAS, the parties desire to avoid both the necessity of large
25   scale redactions and the unauthorized disclosure or dissemination of
26   this information to anyone not a party to the court proceedings in this
27   matter;
28        The parties agree that entry of a stipulated protective order is
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 1   appropriate.
 2        THEREFORE, Defendant YURI PEREZ MACHADO, by and through his counsel
 3   of record (“Defense Counsel”), and the United States of America, by and
 4   through Assistant United States Attorney Henry Z. Carbajal III, hereby
 5   agree and stipulate as follows:
 6        1.     This Court may enter a protective order pursuant to Rule 16(d)
 7   of the Federal Rules of Criminal Procedure, and its general supervisory
 8   authority.
 9        2.     This Order pertains to all discovery provided to or made
10   available    to   Defense   Counsel   as   part   of   discovery   in   this   case
11   (hereafter, collectively known as “the discovery”).
12        3.     By signing this Stipulation and Protective Order, Defense
13   Counsel agrees not to share any documents that contain Protected
14   Information with anyone other than Defense Counsel attorneys, designated
15   defense investigators, and support staff.          Defense Counsel may permit
16   the Defendant to view unredacted documents in the presence of his
17   attorney, defense investigators, and support staff.           The parties agree
18   that Defense Counsel, defense investigators, and support staff shall not
19   allow the Defendant to copy Protected Information contained in the
20   discovery.        The   parties   agree    that    Defense   Counsel,     defense
21   investigators, and support staff may provide the Defendant with copies
22   of documents from which Protected Information has been redacted.
23        4.     The discovery and information therein may be used only in
24   connection with the litigation of this case and for no other purpose.
25   The discovery is now and will forever remain the property of the United
26   States of America (“Government”).           Defense Counsel will return the
27   discovery to the Government or certify that it has been shredded at the
28   conclusion of the case.



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 1        5.   Defense Counsel will store the discovery in a secure place and
 2   will use reasonable care to ensure that it is not disclosed to third
 3   persons in violation of this agreement.
 4        6.   Defense    Counsel   shall    be     responsible   for   advising   his
 5   Defendant, employees, and other members of the defense team, and defense
 6   witnesses of the contents of this Stipulation and Order.
 7        7.   In the event that Defendant substitutes counsel, undersigned
 8   Defense Counsel agrees to withhold discovery from new counsel unless and
 9   until substituted counsel agrees also to be bound by this Order.
10        IT IS SO STIPULATED.
11
12   DATED: August 22, 2011            By:       /s/Richard A. Beshwate, Jr.
                                                 RICHARD A. BESHWATE, JR.
13                                               Attorney for Defendant
                                                 YURI PEREZ MACHADO
14
15
     DATED: August 22, 2011                      BENJAMIN B. WAGNER
16                                               United States Attorney
17
                                        By: /s/Henry Z. Carbajal III
18                                          HENRY Z. CARBAJAL III
                                            Assistant U.S. Attorney
19
20
21                                       ORDER
22
     IT IS SO ORDERED.
23
24   Dated:       August 22, 2011
     0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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